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                                  UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT
                                         TAMPA DIVISION

ANN G. YANIGA,

       Plaintiff,

vs.                                                           Case No.: 8:11-cv-1371-T-23TBM

FLORIDA DEPARTMENT OF
TRANSPORTATION,

      Defendant.
___________________________________________/

                    MOTION TO QUASH SERVICE OF PROCESS
               ON THE FLORIDA DEPARTMENT OF TRANSPORTATION
                         AND MEMORANDUM OF LAW

       COMES NOW, Defendant, Florida Department of Transportation, by and through the

undersigned counsel, and moves to quash the service of process directed to the Department of

Transportation as insufficient.    The Defendant does not hereby waive any future objection to

personal jurisdiction, insufficiency of process, or venue by filing of this Motion.

                                     MOTION TO QUASH

       1.      By Order of this Court, September 27, 2011, (Dkt. 17), Plaintiff’s first attempt at

service of process by certified mail was quashed.

       2.      By further Order of the Court, Plaintiff was given an extension of time until

November 30, 2011 to properly serve the Defendant. (Dkt. 22.)

       3.      On November 17, 2011, Plaintiff filed documents with the Court (Dkt. 24) in she

attests that a summons and complaint was sent to the Defendant by certified mail. As part of that

filing, Plaintiff included a copy of a letter dated November 14, 2011 from Gerald B. Curington,

General Counsel of the Department of Transportation, which acknowledges receipt by certified

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mail of a Summons in a Civil Action and a Complaint. This is not a waiver of service of process

nor has the Department received a request for waiver.

       4.      Certified mail is insufficient service of process on the Department of

Transportation and as such does not confer personal jurisdiction over the Department of

Transportation. Same should be quashed.

       5.      A Memorandum of Law in Support of this Motion follows.

                                  MEMORANDUM OF LAW

       The Federal Rules of Civil Procedure require that a summons and complaint be served by

any person who is at least 18 years old and not a party, or a marshal, deputy marshal or by a

person specially appointed by the Court. F.R.C.P. § 4(c). In addition Rule 4(j)(2) requires a

specific manner of service on a State Agency such as the Department of Transportation, as

follows.

               A state, a municipal corporation, or any state-created

                governmental organization that is subject to suit must be served by:
               (A) delivering a copy of the summons and of the complaint to its
               chief executive officer; or
               (B) serving a copy of each in the manner prescribed by that state’s
                law for serving a summons or like process on such a defendant.
               (Emphasis provided.)

        The use of the word “must” in a rule or statute makes the action prescribed mandatory. The

statutory method of service is exclusive and must be strictly followed. Kelly v. Florida, 233 F.R.D.

632 (11th Cir. 2007), 18 Fla. Weekly Fed. D. 1049 (S.D. Fla. 2005) citing Erection Service Inc. v.

Sims Crane Service, Inc., 379 So.2d 423, 425 (Fla. 2nd DCA 1980).

       Mailing is not “delivering” under Federal Rule of Civil Procedure 4. See e.g. Gilliam v.

County of Tarrant, 94 F. Appx. 230, 230 (5th Cir. 2004). “Service by certified mail is not personal


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delivery, and therefore, it is not sufficient under federal law.” Dyer v. Wal-Mart Stores, Inc., 2008

WL 1913924 (M.D.Fla.) quoting Emerald Coast Finest Produce Co., Inc. v. QSR Group Three, LLC,

No. 3:07-cv-132, 2007 WL 1526650, *1-2 (N.D.Fla. May 24, 2007).             See also Peters v. United

States, 9 F3d 344, 345 (5th Cir. 1993); Larsen v. Mayo Med. Ctr., 218 F. 3d 863, 868 (8th Cir. 2000).

       When service of process is insufficient, a district court lacks personal jurisdiction over a

defendant and therefore has no power to render judgment over the defendant. Valdez v. Feltman (In

re Worldwide Web Systems, Inc.), 328 F.3d 1291, 1295 (11th Cir.2003).

       The burden of demonstrating proper service is on the plaintiff. Familia de Boom v. Arosa

Mercantil, S.A., 629 F.2d 1134, 1139 (5th Cir. 1980).1

       In the instant case, Plaintiff once again attempted to serve process using certified mail instead

of following the Rules of Civil Procedure and applicable case law. Unless service is proper, the

Court lacks jurisdiction over the Department of Transportation.

       WHEREFORE, since the service of process on the Florida Department of Transportation is

insufficient as a matter of law, the undersigned moves that it be quashed.




1 The Eleventh Circuit adopted as binding precedent all decisions of the former Fifth Circuit
prior to October 1, 1981. Bonner v. City of Pritchard, 661 F.2d 1206, 1209 (11th Cir. 1981).
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                                             Respectfully Submitted,
                                             PAMELA JO BONDI
                                             Attorney General

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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 21, 2011, I electronically filed the foregoing
with the Clerk of the Court, by using the CM/ECF system which will send a notice of electronic
filing to all CM/ECF parties and counsel of record. I have also sent a copy by U.S. postal service
to the following.

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